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                                         UNITED STATES DISTRICT COURT
                                          FOR THH DISTRICT OF OREGON

    UNITED STATES OF AhffiRICA                                                                           ORDER SE T TING CONDITIONS
                      V.                                                                                                         0FRELEASE

    RobertEdwardGolden                                                                                         CaseNumber:3:22-M-00013-1

ITISORDEREDthatthereleaseofthedefendantissubjecttothefouowingconditious:

(1 )      The defendant shallnot commit any offense in violation offederal, state orlocallawwhile on release in this case.
(2)      The defendant mustcooperate in the collection ofa DNA sample if the collectionis authorized by 42 U.S.C § 14135a.
(3)      The defendant shallinmediately advise the court through pretrial services or defense counselin witing of any change in
         addressandteleFhonenumber.
(4)      The defendant shanappear at auproceedings asrequired and shall sulTenderfor service of any sentence inposed as directed.
         Thedefendantshannextappearasdirectedbyu.S.Districtcourt.

                                                      Additional Conditions ofRelease

ITISFURTHERORDERDthatthedefendantbereleasedprovided                 e defendant:
      • Report as directedby theu.S. Pretrialservices offiee.
      • Findandmaintain gainfulfu
                                                              Raflh
                                              ployment,approvedschooingorafun-tin e co                              ationofboth,asdirectedand
         approvedbypretrialservice
      • Donotchangeplaceofresid :-.RS:::--: utthepriorapprovalofu.S.Pretrialservices.
      • Travelis limitedto oregonunlesspriorapprovalis obtainedfromu.S. Pretrial services.
          •   Do notuse orunlawfully possess anarcotic drug orothercontrolled substances definedin                         .C.Section802,unless
              prescnl)edbyalicensedmedicalpractitioner.Thisprovisiondoesnotpemittheuseorpossessionofmedical
              evenwithaphysician'swrittencertification.Thedefendantisprohil)itedfromusingorpossessinganysynt
              intoxicatingsubstance,includingbutnotlinitedto"Spice","K-2"andotherfomsofsyntheticmarijuana
          •                                                                                                               StiELan:Ta
              The defendant shall submit to testing for a prohibited substance ifrequiredby thepretrial services office or'supe
              officer.Testingmaybeusedwithrandomfrequeneyandmayincludeurinetesting,thewearingofasweatpat
              remotealcoholtestingsystem,and/oranyfomofprohibitedsubstancescreeningortesting.Thedefendantmusl
              obstruct,attempttoobstruct,ortamperwiththeefficieneyandaccuracyofprohibitedsubstancescreeningortes
          •   Particjpat      entalhealthevaluationandcounseingatthedirectionofu.S.Pretrialservices.Thedefendantisahoto
              take allm      onsasprescnl)ed.Thedefendantshallparticipateinmedicationm                   gifdirectedbypretrial

          •
               Services.
                           REti=
               The defendant address allactive warrantswithin 30 days ofreleaseonsupervision.


                                                      Advice of penalties and sanctions

TO TIIE DEFENDANT:

         YOUAREADVISEDOFTHEFOLLOWINGPENALTIESANDSANCHONS:

          A violation of any of the foregoing conditions ofrelease may result in the immediate issuance of a warrant for your arrest, arevocation of
release, an order of detention, forfeiture of bond, and aprosecutionfor contempt of court and could result in a term of imprisonment, a fine, or botli.

           The commission of any crine while on pre-trialrelease may resultin an additional s entence to a term ofinprisonment of not more than ten
years, if the offense is a felony; or aterm of imprisonment ofnotmore than one year, if the offense is amisdemeanor. This sentence shall be in
addition to any other sentence.

          Federal law makes jt a crime punishable by up to ten years ofinpris onment, and a $25 0,000 fine or both to intimidate or attempt to
intinidate a witness, victim,juror, infomant or officer of the court, or to obstruct a criminal investigation. It is also a crine punishable by up to ten
years of imprisonment, a $25 0,000 fine or both, to tanper with awitness, victin or informant, or to retaliate against a witness, victim or informant or
to threaten or attemptto do so.

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         If after release, you knowingiv fail to appear as required by the conditions ofrelease, or to surrender for the service ofs entence, you may
be prosecuted for fallingto appear or surrender and additional punishmentmay be inposed. If you are convicted of:

(1)        an offense punishable by death, life inprjsonment, or inprisonment for a tern offifteen years or more, you shall be fined notmore than
          $25 0,000 or inprisoned for no more than ten years, or both;
(2)       an offense punisbable by imprisonment for aterm offive years or more, but les s than fifteen years, you shall be fined notmore than
          $250,000orinprisonedfornomorethanfiveyears,orboth;
(3)        any other felony, you shall be fined notmore than $250,000 or imprisonedno more than two years, orboth;
(4)        a misdemeanor, you shall be fined notmore than $100,000 or inprisonednotmore than one year, or both;

         A ten of inprisonment inposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
falluretoappearmayresultintheforfeitureofanybondposted.

                                                          Aclmowledgment of Defendant

           I acknowledge thatl am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




SpecialNeedsFinding:
Basedupontheaboveconditious,includingthecondifronsrelatingto:
I        Alcohol detection
Ba         Ding detection
I       C omputer in onitoring
Thecourtisreasonablyassuredthedefendantwillappearasdirectedandnotposeadangertothecommunftyoranyotherperson.

Directions to the united states Marshal
E        The defendant is ORDERED released afterprocessing.
I       The defendant is ORDERED temp orarily released
I        The united states Marshalis ORDERED to keep the defendant in custody untflnotifiedby the clerk, Pretrial services or
         judicial officer that the defendant has posted bond and/or complied with all other conditions for release including apace
          avaflability at a community coll.ectious center or residential treatment facility. If stiu in custody, the defendant shallbe
          producedbeforethedutyMaSstrateJudgeon                                              at


Date: 02/04/2o22




                                                                                                NameandTitleofJudicialofficer



          Defendant
